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       YORK MELLON FKA THE BANK OF NEW
   7   YORK SUCCESSOR TRUSTEE TO
       JPMORGAN CHASE BANK, N.A., AS
   8   TRUSTEE FOR THE BEAR STEARNS
       ALT-A TRUST, MORTGAGE PASS-
   9   THROUGH CERTIFICATES, SERIES 2005-
       04
  10
                             UNITED STATES BANKRUPTCY COURT
  11
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
  12
       In re                                            Case No. 8:23-bk-10898-TA
  13
       JEFFREY S BEIER,                                 Chapter 11
  14
  15
                     Debtor(s).                         SUPPLEMENTAL EXHIBITS IN
                                                        SUPPORT OF OPPOSITION TO
  16
                                                        DEBTOR’S MOTION FOR ORDER
                                                        IMPOSING STAY [DKT NO. 22]
  17
                                                        SUBJECT PROPERTY:
  18
                                                        10 Tucson, Coto De Caza Area,
                                                        California 92679
  19

  20                                                    HEARING:
                                                        Date: June 27, 2023
  21                                                    Time: 10:30 a.m.
                                                        Ctrm: Crtrm 5B, 411 W Fourth St., Santa
  22                                                           Ana, CA 92701.

  23

  24           THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK SUCCESSOR
  25 TRUSTEE TO JPMORGAN CHASE BANK, N.A., AS TRUSTEE FOR THE BEAR STEARNS

  26 ALT-A TRUST, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-04

  27 (“Creditor”),by and through its authorized loan servicer, Bank of America Mortgage (“BANA”)

  28

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   1 secured creditor of the above captioned Debtor, Jeffrey S Beier (“Debtor”) hereby submits the
   2 attached Supplemental Exhibits in Support of its Opposition to Debtor’s Motion for Imposing Stay

   3 (“Opposition”) filed by Creditor at Docket No. 22.
   4           On May 2, 2023, Debtor filed a Motion to Impose or Extend the Automatic Stay (“Motion to
   5 Extend Stay”). (Dkt No. 9).
   6           On May 11, 2023, Creditor filed an Opposition to Debtor’s Motion for Imposing Stay. (Dkt
   7 No. 22).

   8           On June 9, 2023, Creditor obtained an interior appraisal report (“Appraisal Report”) for the
   9 property located at 10 Tucson, Coto De Caza, California 92679 (“Property”). The Appraisal Report

  10 lists a Property value of $2,770,000. A copy of the Appraisal Report is attached hereto as Exhibit A.
  11           As of July 7, 2023, the approximate payoff owed on the Subject Loan will total
  12 $2,806,259.91. A copy of an estimated Payoff Quote for the Subject Loan is attached hereto as

  13 Exhibit B.

  14           Based on the foregoing, Creditor asserts there is insufficient equity in the Property to support
  15 a sale as contemplated by the Debtor in the Motion to Extend the Stay. Likewise, there is insufficient
  16 equity for the Chapter 11 Trustee to liquidate the Property and pay unsecured creditors. Accordingly,

  17 Creditor asserts the court should deny the Motion to Extend the Stay as the Debtor and Bankruptcy
  18 Estate.
  19

  20 WHEREFORE: Creditor respectfully request:

  21           1.      That the Court deny the Motion to Extend the Stay; and
  22           2.      Such other relief as the Court deems just and proper.
  23                                                  Respectfully submitted,
  24                                                  ALDRIDGE PITE, LLP
  25

  26 Dated: June 22, 2023                             /s/ Gregory P. Campbell
                                                      Gregory P. Campbell (CA SBN 281732)
  27                                                  Attorneys for Creditor
  28

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                                        PROOF OF SERVICE OF DOCUMENT
    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              8880 Rio San Diego Drive, Suite 725 San Diego, CA 92108

A true and correct copy of the foregoing document entitled: Supplemental Exhibits in Support of Opposition to Debtor’s
Motion for Order Imposing Stay [DKT No.22] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
     June 23, 2023                          , I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission
at the email addresses stated below:

U.S. TRUSTEE:
ustpregion16.sa.ecf@usdoj.gov
Michael J Hauser- michael.hauser@usdoj.gov

TRUSTEE:
Arturo Cisneros- arturo@mclaw.org

ATTORNEY FOR DEBTOR:
Anerio V Altman - LakeForestBankruptcy@jubileebk.net

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)         June 23, 2023 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

PRESIDING JUDGE:
Honorable Theodor Albert                                                        DEBTOR:
U.S. Bankruptcy Court Central District Of California                            Jeffrey Beier
(Santa Ana)                                                                     PO Box 7644
Ronald Reagan Federal Building and Courthouse                                   Laguna Niguel, CA 92677
411 West Fourth Street, Suite 5085/ Courtroom 5B
Santa Ana, CA 92701-4593

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


6/23/2023                Lauren Timby                                                      /s/ Lauren Timby
Date                         Printed name                                                          Signature


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                     F 9013-3.1.PROOF.SERVICE
